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IN THE UNITED STATES DISTRICT COU
FOR THE NORTHERN DISTRICT OF TE
FORT WORTH DIVISION

 
 
 
    

UNITED STATES OF AMERICA

V. No. 4:19-CR-196-O
: {Supersedes Information filed on
June 18, 2019.]

MICHAEL WEBB (01)
INDICTMENT
The Grand Jury Charges:
Count One
Kidnapping
(Violation of 18 U.S.C. § 1201(a)(1) and (g))

On or about May 18, 2019, in the Fort Worth Division of the Northern District of
Texas, defendant, Michael Webb, did unlawfully and willfully seize, kidnap, confine,
abduct and carry away, and hold MV1, a child under 18 years of age, for his benefit and
otherwise, and in committing and in furtherance of the commission of the offense, Webb
used any means, facility, and instrumentality of interstate and foreign commerce. At the

time, Webb was over 18 years of age, was not related to, and did not have legal custody

of MV1.

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In violation of 18 U.S.C. §1201(a)(1) and (g).

A TRUE BILL

C=

FOREPERSON

ERIN NEALY COX
UNITED STATES ATTORNEY

AISHA SALEEM

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION

 

THE UNITED STATES OF AMERICA

Vv.

MICHAEL WEBB (01)

 

INDICTMENT
18 U.S.C. § 1201(a)(1) and (g)

Kidnapping
1 Count

A true bill rendered Z AS LZ

FORT WORTH FOREPERSON

 

Filed in open court this 19th day of June, 2019.

 

 

 

Defendant in Federal Custody since May 21, 2019.

 

Mrs

UNIT STATES MAGISTRATE JUDGE
